     Case: 1:11-cv-08540 Document #: 874 Filed: 05/15/12 Page 1 of 6 PageID #:77071




                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION



APPLE INC., and NEXT SOFTWARE,
INC. (f/k/a NeXT COMPUTER, INC.),

                    Plaintiffs and
                    Counterclaim-Defendants,
                                               Case No. 11-CV-08540
v.
                                               Judge Richard A. Posner
MOTOROLA, INC. and MOTOROLA
MOBILITY, INC.

                    Defendants and
                    Counterclaim-Plaintiffs




       APPLE’S MOTION IN LIMINE NO. 11 TO PRECLUDE MOTOROLA FROM
            REFERRING TO IRRELEVANT MATTERS DURING TRIAL
                    (APPLIES TO APPLE PATENTS TRIAL)
  Case: 1:11-cv-08540 Document #: 874 Filed: 05/15/12 Page 2 of 6 PageID #:77072




        Apple moves in limine to exclude Motorola from referring to irrelevant and prejudicial

matters during the liability trials.   Pursuant to Fed. R. Evid. 402, “irrelevant evidence is not

admissible.”    Moreover, prejudice may result not only from the introduction of irrelevant

evidence, but by efforts to inflame the jury via reference to matters that have no bearing on the

ultimate issues to be tried. See Mutual Life Ins. Co. v. City Nat'l Bank & Trust Co., 86 F.2d 660,

663 (7th Cir. 1936) (“Courts are only interested that verdicts of juries shall speak the truth and

any conduct on the part of counsel calculated to prejudice and inflame the human mind to the

point of believing that some one is being abused or mistreated or unfairly dealt with is not

conducive to such result”).

        Here, there is the potential that irrelevant and/or prejudicial matters will be raised by

Motorola during the liability trials. In order to avoid having to disrupt the conduct of the trial

with on-the-spot objections, Apple respectfully requests an advance ruling from the Court

prohibiting Motorola from referring to or otherwise presenting to the jury the following matters:

        A.      The Number of Patents/Claims Previously At Issue:           As the Court knows, the

number of patents and claims that Apple is asserting at trial has been reduced via the Court’s

summary judgment rulings and Apple’s response to the Court’s winnowing request. There is

the potential for prejudice to Apple should the jury hear of this, as the jury may infer that there is

weakness in Apple’s case concerning the currently asserted patents/claims.       Apple thus requests

an order from the Court that Motorola may not make any reference to the patents/claims that

Apple previously asserted in this case.

        B.      Related Litigation Concerning Apple’s ‘002 Patent:          Apple asserted the ‘002

patent against Samsung in the Northern District of California (Case No. 11-cv-01846-LHK).            In

that case, similar to the Court’s request in this case for winnowing, Judge Koh requested that
    Case: 1:11-cv-08540 Document #: 874 Filed: 05/15/12 Page 3 of 6 PageID #:77073




both parties narrow the number of patents/claims to be asserted at the trial. To comply with the

Court’s directive, Apple agreed to dismiss the ‘002 patent without prejudice.   Apple asks that

the Court here prevent Motorola from informing the jury of Apple’s decision to withdraw the

‘002 patent in the Samsung case, as the jury may infer that Apple’s case as to the ‘002 patent

here against Motorola is somehow impacted by its unrelated decision concerning the ‘002 patent

in the Samsung case.

        C.     The Steve Jobs Book: Apple’s co-founder and former CEO Steve Jobs is an

iconic figure in America, and the publication of his biography1 shortly after his death was the

focus of intense media scrutiny.   Mr. Jobs discussed many subjects with his biographer that are

contained in the book, including his belief that Google used Apple’s intellectual property to

develop the Android mobile operating system.     The biographer, using somewhat colorful

language, notes that Mr. Jobs was very angry over this.   To avoid any potential prejudice to

Apple if Motorola attempts to use the book to appeal to the jury’s passion, Apple asks that the

Court prevent any reference to the Jobs book during the trial.

        D.     Apple’s Tax Positions and its Overseas Manufacturing Conditions: There

have been numerous press reports recently concerning Apple’s tax payments to the U.S.

Government, and the working conditions in its overseas third-party manufacturing facilities.

Again, Motorola may attempt to refer to these issues in an effort to bias the jury against Apple.

But these matters bear no relevance to any of issues the juries need to consider, and accordingly

Apple asks the Court to issue an order preventing Motorola from making any reference to

Apple’s tax situation or its overseas manufacturing.




1
        W. Isaacson, Steve Jobs (Simon & Schuster Oct. 24, 2011).



                                             3
  Case: 1:11-cv-08540 Document #: 874 Filed: 05/15/12 Page 4 of 6 PageID #:77074




         E.    The Potential Harm to The Local Community:             Finally, as the Court knows

Motorola is based in Schaumberg, IL.      Motorola should not be allowed to prejudice the jury by

arguing that a verdict in Apple’s favor during either of the liability trials could cause harm to the

local community by, for example, causing the loss of local jobs.




Dated:    May 15, 2012                         Respectfully submitted,


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                                              4
Case: 1:11-cv-08540 Document #: 874 Filed: 05/15/12 Page 5 of 6 PageID #:77075




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                                   5
  Case: 1:11-cv-08540 Document #: 874 Filed: 05/15/12 Page 6 of 6 PageID #:77076




                                CERTIFICATE OF SERVICE

       I hereby certify that on May 15, 2012, at 5:00 p.m. CST, I caused the foregoing document

to be electronically filed with the Clerk of Court using the ECF system, which will make this

document available to all counsel of record for viewing and downloading from the ECF system.


                                      /s/ Brian E. Ferguson
                                     Brian E. Ferguson
